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UNITED STATES DISTRICT CoURT 5 DISTRICT COURT E.D NY
EASTERN DISTRICT OF NEW YORK

* APR O~ 201 *

 

x
MELISSA LOZADA, LONG ISLAND OFFICE
Plaintiff, JURY DEMAND (S))

-against- DOCKET NO.:

CHRISTOPHER NOLAN-TROOPER 5219,

WANTAGH FIRE DISTRICT, COURTNEY WHITEFIELD,

ROBERT DESANTO, JASON JACKOWITZ, JEFF LINDGREN W

WILLIAM ALLEN, DONALD SYNDER, MARY JAMBOR, AL L MV ED a
WILLIAM GILMORE, KENNETH KELLY, JOHN GILLEN, ao
CHRISTOPHER DAGUANNO, JAMES COOKE,

ERIC BARTOLOTTA, WILLIAM VERONESE,

TRAVIS TERGESEN, BARRY DASKAL, GREGG SABLIC,

DOROTHY BORTELL, VICTOR SPAGNOLO,

AMANDA HUTCHINSON, NICHOLAS VASIKAUKAS,

KEITH WILLIAMS, SCOTT MICHELS, MARY HARMS,

STEVEN BERNSTEIN, RICHARD MONGIELLO, CRAIG CRAFT,

ALEXANDER SEDA, JR., ANTHONY DALY, JOHN ROMANELLI,

PETER TUNG, JASON MILK, JOSEPH BORST, DAVID GOETZ,

EDWARD CORDOVA, JOHN SEIER, STEVEN DUNN,

DENNIS O’BRIEN, JOSEPH SICLARI, FRANK SALAMONE and

KEVIN CRONIN,

CHARLES WEILMINSTER-TROOPER 1287, C I I 2 0 4 9

Defendants.
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COMPLAINT
COMES NOW the Plaintiff, MELISSA LOZADA, by and through her attorney,
DIANA LOZADA RUIZ, ESQ., and for her causes of action states, upon information and
belief, the following:
INTRODUCTION
1, Plaintiff brings this action against Defendants pursuant to 42 U.S.C.

§1983 and pursuant to the First, Fourth, Fifth and Fourteenth
Amendments to the United States Constitution, seeking damages for
the deprivation of her federal rights, and for the Defendants’ failure to
exercise reasonable care under the circumstances and for negligent
training and/or supervision.

Plaintiff claims that on April 28, 2009, Defendants, acting in concert,
violated her First Amendment right to free speech when they demanded
that she comply with signing a release form, which she refused to do,
and then either orchestrated, participated in, or caused the physical
assault and battery of the Plaintiff, the Plaintiff's arrest and the filing of
false charges under the Penal Law of New York State.

Plaintiff claims that on April 28, 2009, Defendants, acting in concert,
violated her Fourth Amendment rights to be free from unreasonable
searches and seizures when the Defendants, acting in concert, caused
the Plaintiff to be attacked by police officers, arrested and searched
without probable cause.

Plaintiff claims that on April 28, 2009, Defendants, acting in concert,
violated her Fifth and Fourteenth Amendment rights by depriving her
of her liberty and her property without due process of law;

Plaintiff claims that on April 28, 2009, Defendants, acting in concert,
violated her civil rights by filing or allowing to be filed charges
pursuant to New York State Penal Law against the Plaintiff based upon

false allegations.
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The Defendants conspired together to deprive the Plaintiff of the civil
rights granted to her by the Constitution of the United States and the
State of New York.
Plaintiff further alleges that the Defendants have engaged and enacted
certain policies and/or customs and followed these certain policies
and/or customs when they attempted to effectuate the signature of the
Plaintiff on a release form by force and, when the Plaintiff refused to
sign, they threatened the Plaintiff and then carried through on their
threats, causing physical injury to the Plaintiff and authorizing the
arrest of the Plaintiff and the charges to be filed against her, without
probable cause, in an effort to shield themselves from civil liability.
Plaintiff further alleges that on April 28, 2009, the Defendants were
negligent in the performance of their duties, which led to the Plaintiff's
injuries and the deprivation of the Plaintiffs constitutional rights.
Plaintiff further alleges that the Defendants were negligent and/or
reckless in the training and/or supervision of their employees, servants,
members and/or agents, which caused the Plaintiff to be injured and
falsely arrested.

JURISDICTION AND PARTIES
Jurisdiction is proper pursuant to 42 § 1983 and the United States
Constitution. Supplemental jurisdiction is present over any state law
claims pursuant to 28 U.S.C. §1367 as these claims arise out of the

same common nucleus of operative facts.
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Plaintiff is and was, at all times material hereto, a resident of the
County of Nassau State of New York.

The Defendants CHARLES WEILMINSTER-TROOPER 1287, and
CHRISTOPHER NOLAN-TROOPER 5219, were both officers of the
State of New York assigned to the Troop L located at 7140 Republic
Airport, East Farmingdale, New York 11735. Each of these
Defendants is sued in his individual capacity.

The Defendant WANTAGH FIRE DISTRICT is a fire district in
Nassau County, covering all of Wantagh, and parts of Levittown,
Seaford, East Meadow and Bellmore, as well as Jones Beach State Park
and Tobay Beach, that responded to the emergency call on April 28,
2009 involving the Plaintiff. This Defendant was also the employer
and/or trainer and/or supervisor of the fire department and emergency
medical personnel involved in this action.

The Defendants COURTNEY WHITEFIELD, ROBERT DESANTO,
JASON JACKOWITZ, JEFF LINDGREN, WILLIAM ALLEN,
DONALD SYNDER, MARY JAMBOR, WILLIAM GILMORE,
KENNETH KELLY, JOHN GILLEN, CHRISTOPHER
DAGUANNO, JAMES COOKE, ERIC BARTOLOTTA, WILLIAM
VERONESE, TRAVIS TERGESEN, BARRY DASKAL, GREGG
SABLIC, DOROTHY BORTELL, VICTOR SPAGNOLO, AMANDA
HUTCHINSON, NICHOLAS VASIKAUKAS, KEITH WILLIAMS,

SCOTT MICHELS, MARY HARMS, STEVEN BERNSTEIN,
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RICHARD MONGIELLO, CRAIG CRAFT, ALEXANDER SEDA,
JR., ANTHONY DALY, JOHN ROMANELLI, PETER TUNG,
JASON MILK, JOSEPH BORST, DAVID GOETZ, EDWARD
CORDOVA, JOHN SEIER, STEVEN DUNN, DENNIS O’BRIEN,
JOSEPH SICLARI, FRANK SALAMONE and KEVIN CRONIN,
were all members of the Wantagh Fire District that appeared and/or
participated in the incident on April 28, 2009 wherein the Plaintiff was
deprived of her constitutional rights and injured.
Upon information and belief, none of the Defendants is a Tribal
member or Native American.
At all times material hereto, the Defendants acted in concert, conspired
together and acted under color of state law and/or federal law to
deprive the Plaintiff of her civil rights.

Factual Allegations
On or about April 28, 2009, Plaintiff was involved in a motor vehicle
accident wherein she summoned for assistance by calling 911.
Every one of the Defendants appeared at the scene of the accident in
response to the Plaintiff's call for help.
Upon arriving at the scene and witnessing that the Plaintiff was not
injured, members of the Wantagh Fire District demanded that the
Plaintiff sign a release form.
Plaintiff, uncertain of why she needed to sign a release form and

exercising her First Amendment rights, refused to sign.
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Plaintiff was then threatened by the members of the Wantagh Fire
District and the State Troopers that if she refused to sign the form she
would be arrested.

Upon Plaintiff's continued refusal to sign, the Defendants either
orchestrated and/or participated in the attack of the Plaintiff wherein
the Plaintiff was forcefully removed from her vehicle, brutally thrown
onto the pavement and placed under arrest without probable cause.
Plaintiff had not committed any crimes warranting this arrest.

The Defendants had been trained to threaten civilians who refused to
sign release forms at accident scenes, and follow through on the threats.
As a result of the Defendants’ actions, the Plaintiff was required to
appear in criminal court, lost time from work and had to retain the
services of an attorney to represent her in court.

All of the charges brought against the Plaintiff were ultimately
dismissed.

The Defendants have all established unwritten policies and protocols
sought to protect themselves and/or their employees from civil liability
form potential claims, by arranging for the potential claimant to be
arrested without probable cause and based upon false allegations,

resulting in a clear violation of the Plaintiff's civil rights.
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Causes of action and claims for Damages
Violation of Constitutional Rights

The Plaintiff hereby repeats and reiterates each of the foregoing
paragraphs as if more fully set forth herein.

Defendants acted in concert and conspired to seize Plaintiff without a
warrant or other lawful basis.

The Defendants’ actions in conspiring against the Plaintiff, brutally
attacking the Plaintiff, placing the Plaintiff under arrest, filing and or
authorizing or ratifying the filing of false sworn statements against the
Plaintiff and proceeding and continuing with the false charges against
the Plaintiff were malicious actions taken by the Defendants and were
clear violations of the Plaintiff's rights pursuant to 42 U.S.C. §1983
and pursuant to the First, Fourth, Fifth and Fourteenth Amendments to
the United States Constitution and the Constitution of the State of New
York.

The Defendants had no probable cause to believe that the Plaintiff had
committed or was about to commit a crime and, therefore, did not have
any legal authority to cause the arrest of the Plaintiff.

These Defendants, intentionally and/or with deliberate indifference for
the constitutional rights of Plaintiff, caused the Plaintiff to be forcefully
removed from her vehicle, brutally thrown onto the pavement and

placed under arrest without probable cause.
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These Defendants’ conduct was objectively unreasonable and violated
Plaintiff's clearly established constitutional rights.
The Defendants ratified such unlawful conduct and the unlawful
seizure of the Plaintiff by their failure to adequately train and/or
supervise their employees, members and/or agents.
Defendants acted intentionally and/or with deliberate indifference
under color of law and their acts and/or omissions were a direct cause
of the injuries and damages suffered by the Plaintiff.
As a result of the Defendants’ wrongful actions, the Plaintiff suffered a
violation of her civil rights, as well as personal injuries to her body,
injury to her reputation, economic losses, pain, humiliation, anxiety,
stress and a deprivation of her liberty.
Because the Defendants acted willfully, maliciously and/or with
reckless indifference for his federal rights, Plaintiff seeks an award of
punitive damages against them.

Negligence
The Plaintiff hereby repeats and reiterates each of the foregoing
paragraphs as if more fully set forth herein.
Each of the Defendants had a duty to take reasonable care against

violating the Plaintiffs constitutional rights and causing injury to the

Plaintiff.
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Each of the Defendants failed to exercise reasonable care under the
circumstances and as a result, the Plaintiff sustained damages in the
form of personal injury and deprivation of constitutional rights.

Each of the Defendants was further negligent in establishing,
exercising, executing and/or following certain policies and protocols
that were designed to protect themselves and/or their employees from
civil liability form potential claims, by arranging for the potential
claimant to be arrested without probable cause and based upon false
allegations, resulting in a clear violation of the Plaintiffs civil rights.
The Defendants were further negligent in failing to exercise reasonable
care in the training and supervision of their employees, servants,
members and/or agents.

As a result of the Defendants’ wrongful actions, the Plaintiff suffered a
violation of her civil rights, as well as personal injuries to her body,
injury to her reputation, economic losses, pain, humiliation, anxiety,

stress and a deprivation of her liberty.

WHEREFORE, Plaintiff prays for the following relief:

1.

For compensatory damages, jointly and severally, against all Defendants

in an amount to be determined by the trier of fact.

2.

For punitive damages against all Defendants in an amount to be

determined by the trier of fact.

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4.

For pre-judgment and post-judgment interest.

For reasonable attorney fees and costs pursuant to 42 U.S.C. §1988.
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5. For such other and further relief as the Court deems just and proper.

 

Attorney for Plaintiff
132 Jericho Turnpike
P.O. Box 604
Mineola, NY 11501
(516) 499-3229
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VERIFICATION
STATE OF NEW YORK )
) ss.
COUNTY OF NASSAU )

MELISSA LOZADA, being duly sworn, deposes and says:

I am the Plaintiff in the above action, and as such, I am fully familiar with all of
the facts and circumstances herein.

I have read to me the foregoing COMPLAINT and know the contents thereof: the
same are true to my own knowledge, except as to those matters therein stated to be

alleged upon information and belief, and as to those matters, I believe them to be true.

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MELISSA LOZADA
Sworn to before me this
26" day of April, 2011
NOTARY PUBLIC
RUE
Notary public Bale of New York

No: 02R6154914 y
Qualified in Nesean Coun
Commission Expires: 10/23/2017
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Docket Number: Year: 2011

 

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

. MELISSA LOZADA,

Plaintiff,
-against- ease

“

CHARLES WEILMINSTER-TROOPER 1287, CHRISTOPHER NOLAN-TROOPER 5219,
'WANTAGH FIRE DISTRICT, COURTNEY WHITEFIELD, ROBERT DESANTO, JASON .
JACKOWITZ, JEFF LINDGREN, WILLIAM ALLEN, DONALD SYNDER, MARY JAMBOR,
WILLIAM GILMORE, KENNETH KELLY, JOHN GILLEN, CHRISTOPHER DAGUANNO, JAMES
COOKE, ERIC BARTOLOTTA, WILLIAM VERONESE, TRAVIS TERGESEN, BARRY DASKAL,
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SEIER, STEVEN DUNN, DENNIS O’BRIEN, JOSEPH SICLARI, FRANK SALAMONE and KEVIN

’ CRONIN,

Defendants.

SUMMONS IN A CIVIL ACTION AND
VERIFIED COMPLAINT

 

DIANA LOZADA RUIZ, ESQ.
Attorney at Law
Attorneys for the Plaintiff
132 Jericho Turnpike
P.O. Box 604
Mineola, NY 11501
(516) 499-3229

 

Pursuant to 22 NYCRR 130-1.1, the undersigned, an attorney admitted to practice in the courts of New
York State, certifies that, upon information and belief and reasonable inquiry, the contentions contained
in the annexed document are not frivolous.

Dated: uy b Hy

 

 

Service of a copy of the within is hereby admitted.

Dated:

 

Attorney(s) for
